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                                  CERTIFICATE OF SERVICE

                I, Ann C. Cordo, Esquire, certify that I am not less than 18 years of age, and that
service of the foregoing Notice Of Rescheduled Hearing Date From September 30, 2010 At
10:00 a.m. (ET) To September 30, 2010 at 11:00 a.m. (ET) was caused to be made on
September 22, 2010, in the manner indicated upon the entities identified below and those on the
attached service list.

Date: September 22, 2010                                     /s/ Ann C. Cordo
                                                                  Ann C. Cordo (No. 4817)


VIA HAND DELIVERY

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